                      UNITED STATES BANKRUPTCY COURT
                             Western District of Texas

                                                            Bankruptcy Case No.: 15−51396−cag
                                                                    Chapter No.: 11
                                                                          Judge: Craig A. Gargotta
IN RE: Primera Energy, LLC , Debtor(s)




                                        NOTICE OF HEARING


PLEASE TAKE NOTICE that a hearing will be held


     at    S.A. Courtroom 3, Hipolito F. Garcia Fed Bldg & Courthouse, 615 E. Houston St., San Antonio, TX
           78205

     on    7/9/15   at   10:00 AM

     Hearing to Consider and Act Upon the Following: (IF TIME ESTIMATE EXCEEDS 20 MINUTES, PLEASE
     E−MAIL LISA ELIZONDO AT: lisa_elizondo@txwb.uscourts.gov) (Related Document(s): 32 Motion to
     Convert Case From Chapter 11 to Chapter 7 ( Filing Fee: $ 15.00 ) filed by James W Rose Jr for U.S. Trustee
     United States Trustee − SA12 (Attachments: # 1 Proposed Order)) Hearing Scheduled For 7/9/2015 at 10:00
     AM at SA Courtroom 3 (Elizondo, Lisa)




Dated: 6/16/15
                                                           Yvette M. Taylor
                                                           Clerk, U. S. Bankruptcy Court




                                                                                           [Hearing Notice (BK)] [NtchrgBKapac]
                                      United States Bankruptcy Court
                                        Western District of Texas
In re:                                                                                  Case No. 15-51396-cag
Primera Energy, LLC                                                                     Chapter 11
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0542-5           User: elizondol              Page 1 of 3                   Date Rcvd: Jun 16, 2015
                               Form ID: 134                 Total Noticed: 77


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 18, 2015.
db             +Primera Energy, LLC,    21022 Gathering Oak #2101,     San Antonio, TX 78260-3109
cr             +Gonzales County,    711 Navarro, Suite 300,     San Antonio, TX 78205-1749
cr             +Key Energy Services, LLC,     c/o Carl Dore’, Jr.,    Dore’ Law Group, P.C.,
                 17171 Park Row, Suite 160,     Houston, TX 77084-4927
cr             +Maverick Field Services, LLC,     c/o Matthew T. Taplett, Esq.,     500 W.7th St. #600,
                 Fort Worth, TX 76102-4751
cr             +McMullen County,    711 Navarro, Suite 300,     San Antonio, TX 78205-1749
cr             +Newpark Drilling Fluids, LLC,     c/o Dor Law Group, P.C.,    17171 Park Row, Suite 160,
                 Houston, TX 77084-4927
cr             +Qwik Pipe, Inc,    1825 Upland Drive,     Houston, TX 77043-3003
cr             +Wilson County,    711 Navarro, Suite 300,     San Antonio, TX 78205-1749
16463998       +ARK-LA-TEX Wireline Services,     1200 East Campbell #108,    PO Box 677231,
                 Richardson, TX 75081-1963
16463996      #+Allied Oil & Gas,    P. O. Box 93999,     Southlake, TX 76092-0119
16463997       +Andrews Pump & Supply,    PO Box 1378,     Andrews, TX 79714-1378
16464917        ArkLaTex Wireline Services, LLC,     c/o William R. Sudela,     Crady, Jewett & McCulley, LLP,
                 2727 Allen Parkway, Suite 1700,     Houston, TX 77019-2125
16463999       +Attorney General of the U.S.,     10th & Const. Ave. N.W.#5111,     Washington, D.C 20530-0001
16464000       +BBVA Compass,    18503 Blanco Road,    San Antonio, TX 78258-4044
16471712       +Baker Hughes Oilfield Operations, Inc.,      c/o Christopher J. Ryan, Manager of Coll,
                 Baker Hughes Incorporated,     2929 Allen Parkway, Suite 2100,     Houston, Texas 77019-2182
16464001        Beck Bros, Inc,    PO Box 712,    Beeville, TX 78104-0712
16464002       +Beta International, Inc.,     P. O. Box 4436 msc 700,    Houston, TX 77210-4436
16464003       +Black Gold Rental Tools,    P. O. Box 9531,     Corpus Christi, TX 78469-9531
16464004       +Brandon Barchus,    Faulk Barchus,    800 Bering Drive #400,     Houston, Texas 77057-2131
16464005        CC American Oilfield LLC,     P. O. Box 260012,    Corpus Christi, TX 78426-0012
16464006       +CC Forbes LLC,    PO Box 250,    Alice, TX 78333-0250
16464011       +CWFord Rentals,    PO Box 3156,    Kilgore, TX 75663-3156
16464007       +Certified Oil Field Rentals, I,     PO Box 967,    Cuero, TX 77954-0967
16464008       +Champions Contracting, LLC,     20600 H and R Road,    Houston, TX 77073-3002
16464009       +Chem Rock Technologies,    P. O. Box 81277,     Lafayette, LA 70598-1277
16464010       +Crest Pumping Technologies,     6500 West Freeway #601,    Fort Worth, TX 76116-2181
16464012       +Dean W. Greer, Attorney,    2929 Mossrock, Suite 117,     San Antonio, TX 78230-5141
16464013       +Diamond Energy Services,    406 S. Boulder Ave #708,     Tulsa, OK 74103-3862
16464014       +Diversified Well Logging, LLC,     711 West 10th Street,    Reserve, LA 70084-6919
16464015       +Dynasty Enterprises, Inc,     PO Box 128,    Kenedy, TX 78119-0128
16464018       +EVO Inc.,   15720 Park Row #500,     Houston, TX 77084-4961
16464016       +Eagle Oilfield Inspection Serv,     P. O. Box 895,    Broussard, LA 70518-0895
16464017       +Elite Toilet Rentals,    P. O. Box 3772,     Victoria, TX 77903-3772
16464019        Excalibur Rentals,    PO Box 203047,    Houston, TX 77216-3047
16464020       +Express Energy Services,    P. O. Box 843971,     Dallas, TX 75284-3971
16464332       +Frederick Patek et al. (Investors),     c/o David S Gragg / Natalie F Wilson,
                 Langley & Banack, Inc,    745 E Mulberry, Suite 900,     San Antonio, TX 78212-3141
16466622       +Gonzales County,    c/o David G. Aelvoet,     711 Navarro, Suite 300,    San Antonio, TX 78205-1749
16464021       +Gray Sales, Inc.,    P. O. Box 188,    Hebbronville, TX 78361-0188
16464022       +Guadalupe Valley Electric Coop,     13849 US Hwy 87 W,    LaVernia, TX 78121-5848
16464023       +Hanz Hydraulics, Inc.,    6204 Fenske Lane,     Needville, TX 77461-8843
16464024       +Inland Environmental & Remedia,     P. O. Box 1090,    Columbus, TX 78934-1090
16467297       +K-3 Resources, LP,    d/b/a K-3 Services,     c/o Brian E. Bro,    3911 Wood Park,
                 Sugar Land, TX 77479-2838
16464026       +K-3 Services,    P. O. Box 2236,    Alvin, TX 77512-2236
16464028        KDR Supply, Inc.,    P. O. Box 10130,     Liberty, TX 77575-7630
16469570       +Karnes County National Bank,     c/o Richard T. Chapman,    P. O. Box 1969,
                 Victoria, TX 77902-1969
16464027       +Karnes County National Bank,     P. O. Box 98,    Karnes City, TX 78118-0098
16464029        Key Energy Services,    PO Box 4649,    Houston, TX 77210-4649
16468056       +Key Energy Services, LLC,     c/o Dor Law Group, P.C.,    17171 Park Row, Suite 160,
                 Houston, Texas 77084-4927
16465110       +Lawrence Morales II,    The Morales Law Firm PC,     115 E Travis St Suite 1530,
                 San Antonio TX 78205-1766
16464030       +Lone Star Industries,    P. O. Box 188,     Hebbronville, TX 78361-0188
16464034       +MMZ Consulting,    9207 Limestone Pass,     Boerne, TX 78006-6549
16464035       +MW Rentals & Service,    4002 U.S. Hwy 59 North,     Victoria, TX 77905-5501
16464031       +Maverick Field Services,    P. O. ox 262,     La Grange, TX 78945-0262
16469688       +Maverick Field Services, LLC,     c/o Matthew T. Taplett, Esq.,     500 W.7th St. #600,
                 Ft. Worth, Tx 76102-4751
16464032        McGuire Industries,    2416 W. 42nd Street,     Odessa, TX 79764-6309
16466623       +McMullen County,    c/o David G. Aelvoet,     711 Navarro, Suite 300,    San Antonio, TX 78205-1749
16464033       +Midstar Energy LP,    1840 Snake River Rd #E,     Katy, TX 77449-7755
16464036        National Oilwell Varco LP,     P. O. Box 203793,    Dallas, TX 75320-3793
16464037       +Nationwide Capital Funding,     P. O. Box 260775,    Corpus Christi, TX 78426-0775
16464038       +Newpark Drilling Tools,    21920 Merchant’s Way,     Katy, TX 77449-6834
16464039        Oil Patch Rental Services,     PO Box 204667,    Dallas, TX 75320-4667
16464040       +P & A Supply,    PO Box 4814,    Victoria, TX 77903-4814
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16464041             +Platinum Pressure Pumping,    2100 W Loop S #1400,    Houston, TX 77027-3525
16470258             +Platinum Pressure Pumping, Inc.,     c/o Joshua A. Verde,    2100 West Loop South, 14th FL,
                       Houston, TX 77027-3599
16464043             +Production Equipment Company,     P. O. Box 2621,   Corpus Christi, Texas 78403-2621
16464044             +Quick Pipe,    1825 Upland Drive,    Houston, TX 77043-3003
16464045              Rathole Drilling, Inc.,    P. O. Box 389,    Alice, TX 78333-0389
16464046             +Refinery Specialties,    PO Box 577,    Hempstead, TX 77445-0577
16464047             +Steve Kent Trucking,    PO Box 148,    Lottie, LA 70756-0148
16464048             +Trican Well Services,    PO Box 677418,    Dallas, TX 75267-7418
16464049             +U. S. Attorney/IRS,    601 N. W. Loop 410, Suite 600,     San Antonio, Texas 78216-5512
16468764             +Unit Texas Drilling, L.L.C.,    c/o Snow Spence Green, LLP,     Attn: Aaron M. Guerrero,
                       2929 Allen Parkway, Suite 2800,     Houston, TX 77019-7100
16464051             +Unit Texas Drilling, LLC,    7130 South Lewis #1000,    Tulsa, OK 74136-5465
16468041             +Wilson CAD,    c/o David G. Aelvoet,    711 Navarro, Suite 300,    San Antonio, TX 78205-1749
16466624             +Wilson County,    c/o David G. Aelvoet,    711 Navarro, Suite 300,    San Antonio, TX 78205-1749

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
16464025        E-mail/Text: cio.bncmail@irs.gov Jun 17 2015 00:08:06     Internal Revenue Service,
                 P. O. Box 21126,   Philadelphia, PA 19114
16464050       +E-mail/Text: USTPRegion07.sn.bnc@usdoj.gov Jun 17 2015 00:08:22     U. S. Trustee,
                 615 E. Houston St. Room 533,   San Antonio, Texas 78205-2055
                                                                                            TOTAL: 2

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr                Frederick Patek, et al. (Investors)
cr                Platinum Pressure Pumping, Inc.
cr                Unit Texas Drilling, L.L.C.,    c/o Snow Spence Green, LLP,    2929 Allen Parkway Suite 2800,
                   Houston
16468055          Newpark Drilling Fluids, LLC
16471271          Qwik Pipe, Inc.: 1825 Upland Drive, Houston, Texas
cr*               ArkLaTex Wireline Services, LLC,    c/o William R. Sudela,    Crady, Jewett & McCulley, LLP,
                   2727 Allen Parkway, Suite 1700,    Houston, TX 77019-2125
cr*              +Karnes County National Bank,    P.O. Box 98,    Karnes City, TX 78118-0098
16466625*        +Gonzales County,   c/o David G. Aelvoet,     711 Navarro, Suite 300,   San Antonio, TX 78205-1749
16466626*        +McMullen County,   c/o David G. Aelvoet,     711 Navarro, Suite 300,   San Antonio, TX 78205-1749
16464042*        +Primera Energy, LLC,   21022 Gathering Oak #2101,     San Antonio, TX 78260-3109
16466627*        +Wilson County,   c/o David G. Aelvoet,    711 Navarro, Suite 300,    San Antonio, TX 78205-1749
                                                                                                TOTALS: 5, * 6, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 18, 2015                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 16, 2015 at the address(es) listed below:
              Aaron Matthew Guerrero   on behalf of Creditor    Unit Texas Drilling, L.L.C.
               aaronguerrero@snowspencelaw.com
              Carl Dore, Jr    on behalf of Creditor    Newpark Drilling Fluids, LLC carl@dorelawgroup.net,
               vmartinez@dorelawgroup.net
              Carl Dore, Jr    on behalf of Creditor    Key Energy Services, LLC carl@dorelawgroup.net,
               vmartinez@dorelawgroup.net
              David G. Aelvoet   on behalf of Creditor    Gonzales County davida@publicans.com
              David G. Aelvoet   on behalf of Creditor    McMullen County davida@publicans.com
              David G. Aelvoet   on behalf of Creditor    Wilson County davida@publicans.com
              David S. Gragg   on behalf of Creditor    Frederick Patek, et al. (Investors)
               dgragg@langleybanack.com, cjohnston@langleybanack.com
              Dean William Greer   on behalf of Debtor    Primera Energy, LLC dwgreer@sbcglobal.net,
               deangreernotices2@gmail,deangreernotices@gmail.com,deangreernotices2@gmail.com
              George O Mejlaender, III    on behalf of Creditor   Qwik Pipe, Inc gom@gmtxlaw.com
              James W Rose, Jr   on behalf of U.S. Trustee    United States Trustee - SA12 james.rose@usdoj.gov
District/off: 0542-5          User: elizondol              Page 3 of 3                  Date Rcvd: Jun 16, 2015
                              Form ID: 134                 Total Noticed: 77


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Joshua A Verde    on behalf of Creditor    Platinum Pressure Pumping, Inc. josh@verde-law.com,
               znye@verde-law.com
              Matthew T. Taplett    on behalf of Creditor    Maverick Field Services, LLC
               mtaplett@popehardwicke.com
              Natalie F. Wilson    on behalf of Creditor    Frederick Patek, et al. (Investors)
               nwilson@langleybanack.com, cjohnston@langleybanack.com;ggonzalez@langleybanack.com
              Richard T. Chapman    on behalf of Creditor    Karnes County National Bank
               rchapman@andersonsmith.com, karissa@andersonsmith.com;roxanne@andersonsmith.com
              United States Trustee - SA12    USTPRegion07.SN.ECF@usdoj.gov
              William R. Sudela    on behalf of Creditor    ArkLaTex Wireline Services, LLC wsudela@cjmlaw.com
              Zachary S McKay    on behalf of Creditor    Key Energy Services, LLC zmckay@dorelawgroup.net
              Zachary S McKay    on behalf of Creditor    Newpark Drilling Fluids, LLC zmckay@dorelawgroup.net
                                                                                              TOTAL: 18
